               Case 23-42085-mxm7                          Doc 1        Filed 07/20/23 Entered 07/20/23 13:13:13                              Desc Main
                                                                       Document Page 1 of 43
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                            Chapter       7                                                     ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Howling Mutt Brewing Company, LLC



    2. All other names debtor used                Howling Mutt Brewing Pub
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8      3 – 1     4   5    3    1    7   1
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  205 N. Cedar St.                                               9016 Stewart St.
                                                  Number           Street                                       Number         Street

                                                                                                                 Justin Reed
                                                                                                                P.O. Box
                                                  Denton , TX 76021
                                                  City                                    State   ZIP Code       Aubrey, TX 76227
                                                                                                                City                              State      ZIP Code


                                                  Tarrant                                                       Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number         Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ✔
                                                  ❑      Other. Specify:        Limited Liability Company




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
             Case 23-42085-mxm7                      Doc 1           Filed 07/20/23 Entered 07/20/23 13:13:13                                  Desc Main
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Debtor      Howling Mutt Brewing Company, LLC                                                                    Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ✔
                                                ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor        Howling Mutt Brewing Company, LLC                                                               Case number (if known)
             Name


  11. Why is the case filed in this    Check all that apply:
      district?
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       ❑
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have      ✔ No
                                       ❑
      possession of any real
      property or personal property
                                       ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?                                  ❑    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?


                                                  ❑    It needs to be physically secured or protected from the weather.
                                                  ❑    It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                       options).
                                                  ❑    Other
                                                  Where is the property?
                                                                            Number         Street




                                                                            City                                           State       ZIP Code
                                                  Is the property insured?
                                                  ❑ No
                                                  ❑ Yes.       Insurance agency
                                                               Contact name
                                                               Phone

          Statistical and administrative information

         13. Debtor’s estimation of    Check one:
             available funds?          ❑ Funds will be available for distribution to unsecured creditors.
                                       ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                       ❑
                                          creditors.

         14. Estimated number of
                                        ✔
                                        ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                  ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets
                                        ✔
                                        ❑    $0-$50,000                       ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                        ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                        ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                        ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 23-42085-mxm7                   Doc 1         Filed 07/20/23 Entered 07/20/23 13:13:13                                      Desc Main
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Debtor        Howling Mutt Brewing Company, LLC                                                                     Case number (if known)
             Name



                                            ❑    $0-$50,000                            ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ✔
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     07/20/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Justin Reed                                                      Printed name
                                                                                                                                              Justin Reed
                                                    Signature of authorized representative of debtor


                                                    Title                    Managing Member



         18. Signature of attorney
                                                ✘                       /s/ Behrooz P. Vida                            Date      07/20/2023
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Behrooz P. Vida
                                                    Printed name

                                                     The Vida Law Firm, PLLC
                                                    Firm name

                                                     3000 CENTRAL DR
                                                    Number          Street


                                                     BEDFORD                                                              TX              76021-3671
                                                    City                                                                 State            ZIP Code



                                                     (817) 358-9977                                                        filings@vidalawfirm.com
                                                    Contact phone                                                         Email address



                                                     20578040                                                              TX
                                                    Bar number                                                            State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
               Case 23-42085-mxm7                     Doc 1       Filed 07/20/23 Entered 07/20/23 13:13:13                              Desc Main
                                                                 Document Page 5 of 43
 Fill in this information to identify the case:

 Debtor name                     Howling Mutt Brewing Company, LLC

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)              Type of account                 Last 4 digits of account number
       3.1 Bank of America                                           Checking account                       8830                                         $500.00

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                           $500.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                         page 1
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Debtor        Howling Mutt Brewing Company, LLC                                                                  Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                             $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                             $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
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Debtor       Howling Mutt Brewing Company, LLC                                                            Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                Date of the last        Net book value of    Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest    for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         22.1 Beer                                                                           (Unknown)                                             $350.00
                                                                MM / DD / YYYY


         Additional Page Total - See continuation page for additional entries                                                                      $250.00

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                     $600.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                    page 3
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Debtor       Howling Mutt Brewing Company, LLC                                                           Case number (if known)
             Name



  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
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Debtor       Howling Mutt Brewing Company, LLC                                                           Case number (if known)
             Name



  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         39.1 lamps & tables                                                               (Unknown)                                               $50.00


         Additional Page Total - See continuation page for additional entries                                                                     $200.00

  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Clove Due POS w/ Handheld                                                    (Unknown)                                            $1,000.00


         Additional Page Total - See continuation page for additional entries                                                                      $50.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         42.1 2 pieces of artwork                                                          (Unknown)                                              $100.00


  43. Total of Part 7
                                                                                                                                                $1,400.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
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Debtor        Howling Mutt Brewing Company, LLC                                                              Case number (if known)
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                         $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                         $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
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Debtor       Howling Mutt Brewing Company, LLC                                                           Case number (if known)
             Name


  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         62.1 TABC License: 106106272 (non-transferable)                                   (Unknown)                                           (Unknown)


  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
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Debtor        Howling Mutt Brewing Company, LLC                                                          Case number (if known)
             Name




 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
                Case 23-42085-mxm7                               Doc 1         Filed 07/20/23 Entered 07/20/23 13:13:13                                                Desc Main
                                                                              Document Page 13 of 43
Debtor        Howling Mutt Brewing Company, LLC                                                                                      Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                   $500.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                          $600.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                        $1,400.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                     $2,500.00        + 91b.                           $0.00



                                                                                                                                                                                   $2,500.00
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                     page 9
              Case 23-42085-mxm7                Doc 1     Filed 07/20/23 Entered 07/20/23 13:13:13                        Desc Main
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Debtor       Howling Mutt Brewing Company, LLC                                                  Case number (if known)
            Name



          Additional Page


         General description                          Date of the last     Net book value of   Valuation method used     Current value of debtor's
                                                      physical inventory   debtor's interest   for current value         interest
                                                                           (Where available)
  22. Other inventory or supplies - Continued
         22.2 wine                                                                 (Unknown)                                             $250.00
                                                         MM / DD / YYYY

         General description                                               Net book value of   Valuation method used     Current value of debtor's
                                                                           debtor's interest   for current value         interest
                                                                           (Where available)

  39. Office furniture - Continued
         39.2 2 antique couches, 2 antique barrel back woven chairs,               (Unknown)                                             $200.00

  41. Office equipment - Continued
         41.2 security panel with 2 cameras                                        (Unknown)                                              $50.00




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                               page 10
            Case 23-42085-mxm7                           Doc 1      Filed 07/20/23 Entered 07/20/23 13:13:13                                           Desc Main
                                                                   Document Page 15 of 43
 Fill in this information to identify the case:

     Debtor name     Howling Mutt Brewing Company, LLC

     United States Bankruptcy Court for the:                 Northern                District of             Texas
                                                                                                   (State)
     Case number (if known):                                                                                                                           ❑   Check if this is an
                                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ✔
       ❑   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ❑   Yes. Fill in all of the information below.

     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                             Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                                 Amount of claim                Value of collateral
                                                                                                                             Do not deduct the value        that supports this
                                                                                                                             of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien

        Creditor’s mailing address



                                                             Describe the lien
        Creditor’s email address, if known


                                                             Is the creditor an insider or related party?
        Date debt was
        incurred                                             ❑   No
                                                             ❑   Yes
        Last 4 digits of
                                                             Is anyone else liable on this claim?
        account
        number                                               ❑   No
                                                             ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest
        in the same property?                  As of the petition filing date, the claim is:
        ❑   No
                                                             Check all that apply.

        ❑   Yes. Specify each creditor, including this       ❑   Contingent
                 creditor, and its relative priority.        ❑   Unliquidated
                                                             ❑   Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
               Case 23-42085-mxm7                    Doc 1        Filed 07/20/23 Entered 07/20/23 13:13:13                              Desc Main
                                                                 Document Page 16 of 43
 Fill in this information to identify the case:

 Debtor name                      Howling Mutt Brewing Company, LLC

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.1                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
                                                              Basis for the claim:
       Date or dates debt was incurred


                                                              Is the claim subject to offset?
       Last 4 digits of account
                                                              ❑ No
       number
                                                              ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.2                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
                                                              Basis for the claim:
       Date or dates debt was incurred


                                                              Is the claim subject to offset?
       Last 4 digits of account
                                                              ❑ No
       number
                                                              ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 4
                Case 23-42085-mxm7                     Doc 1      Filed 07/20/23 Entered 07/20/23 13:13:13                              Desc Main
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Debtor        Howling Mutt Brewing Company, LLC                                                               Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $3,039.22
                                                                            Check all that apply.
       Bank of America
                                                                            ❑ Contingent
       Business Card                                                        ❑ Unliquidated
                                                                            ❑ Disputed
       PO Box 15796                                                         Basis for the claim: credit card
       19886-5796                                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number         5   4    3    7

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
       Black Fox Brewing Company of Texas                                   ✔ Contingent
                                                                            ❑
       205 N. Cedar St.
                                                                            ✔ Unliquidated
                                                                            ❑
                                                                            ❑ Disputed
       Denton, TX 76201
                                                                            Basis for the claim: Executory Contract
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes
       Remarks:
       Sub-lessee for commercial lease located at 205 N. Cedar St.,
       Denton, Texas 76201

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $3,676.00
                                                                            Check all that apply.
       Clover Network, Inc.
                                                                            ❑ Contingent
       415 N. Mathilda Ave                                                  ❑ Unliquidated
                                                                            ❑ Disputed
       Sunnyvale, CA 94085
                                                                            Basis for the claim: cash advance loan
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number         8   8    8    5
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,175.76
3.4                                                                         Check all that apply.
       Denton County Tax Assessor
                                                                            ❑ Contingent
       PO Box 90223                                                         ❑ Unliquidated
                                                                            ❑ Disputed
       76202-5223
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes
       Remarks: business personal property taxes for 2022




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page 2 of 4
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Debtor     Howling Mutt Brewing Company, LLC                                                            Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,863.15
                                                                      Check all that apply.
      Independent Financial
                                                                      ❑ Contingent
      PO Box 790408                                                   ❑ Unliquidated
                                                                      ❑ Disputed
      63179-0408
                                                                      Basis for the claim: credit card
                                                                      Is the claim subject to offset?
     Date or dates debt was incurred                                  ✔ No
                                                                      ❑
     Last 4 digits of account number      8   7    1    1
                                                                      ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $49,000.00
                                                                      Check all that apply.
      Justin Reed
                                                                      ❑ Contingent
      9016 Stewart St.                                                ❑ Unliquidated
      Aubrey, TX 76227                                                ❑ Disputed
                                                                      Basis for the claim: shareholder loan
      9016 Stewart St.
                                                                      Is the claim subject to offset?
      Aubrey, TX 76227                                                ✔ No
                                                                      ❑
                                                                      ❑ Yes
     Date or dates debt was incurred

     Last 4 digits of account number

3.7 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $35,888.00
                                                                      Check all that apply.
      Scott Brown Commericial
                                                                      ❑ Contingent
      1400 Dallas Dr.                                                 ❑ Unliquidated
                                                                      ❑ Disputed
      Denton, TX 76205
                                                                                           Commercial business
                                                                      Basis for the claim: lease
     Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                      ✔ No
                                                                      ❑
     Last 4 digits of account number
                                                                      ❑ Yes
     Remarks:
     business lease: 205 N. Cedar Street, Denton, Texas 76201




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 4
              Case 23-42085-mxm7                  Doc 1     Filed 07/20/23 Entered 07/20/23 13:13:13                        Desc Main
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Debtor       Howling Mutt Brewing Company, LLC                                                    Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00




  5b. Total claims from Part 2                                                     5b.              $100,642.13
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $100,642.13
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                 page 4 of 4
               Case 23-42085-mxm7                       Doc 1    Filed 07/20/23 Entered 07/20/23 13:13:13                              Desc Main
                                                                Document Page 20 of 43
 Fill in this information to identify the case:

 Debtor name                     Howling Mutt Brewing Company, LLC

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                      Chapter     7                                                       ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            business lease: 205 N. Cedar Street,         Scott Brown Commericial
2.1    lease is for and the nature           Denton, Texas 76201
       of the debtor’s interest                                                           1400 Dallas Dr.
                                             Contract to be REJECTED                      Denton, TX 76205
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            sublease for commercial lease held for       Black Fox Brewing Company of Texas
2.2    lease is for and the nature           205 N. Cedar St., Denton, Texas
       of the debtor’s interest                                                           205 N. Cedar St.
                                             Contract to be REJECTED                      Denton, TX 76201
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
          Case 23-42085-mxm7                         Doc 1      Filed 07/20/23 Entered 07/20/23 13:13:13                                  Desc Main
                                                               Document Page 21 of 43
 Fill in this information to identify the case:

  Debtor name          Howling Mutt Brewing Company, LLC


  United States Bankruptcy Court for the:               Northern            District of             Texas

                                                                                                                                         ❑
                                                                                          (State)
  Case number (If known):
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔
        ❑     Yes

  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                          Check all schedules
         Name                               Mailing address                                                 Name
                                                                                                                                          that apply:

 2.1     Manning , Alex Manning             417 S. Locust St, 114                                           Scott Brown Commericial       ❑   D
                                            Street                                                                                        ✔
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G

                                            Denton, TX 76201                                                Scott Brown Commericial       ❑   D
                                            City                    State                  ZIP Code                                       ❑   E/F
                                                                                                                                          ✔
                                                                                                                                          ❑   G

 2.2     Reed, Justin                       9016 Stewart St.                                                Bank of America               ❑   D
                                            Street                                                                                        ✔
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G

                                            Aubrey, TX 76227                                                Independent Financial         ❑   D
                                            City                    State                  ZIP Code                                       ✔
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G
                                                                                                            Scott Brown Commericial       ❑   D
                                                                                                                                          ❑   E/F
                                                                                                                                          ✔
                                                                                                                                          ❑   G

                                                                                                            Scott Brown Commericial       ❑   D
                                                                                                                                          ✔
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G

 2.3                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                    State                  ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                          page 1 of    2
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Debtor      Howling Mutt Brewing Company, LLC                                             Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.4                                                                                                                         ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G


                                      City                   State             ZIP Code

 2.5                                                                                                                         ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G


                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G


                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
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 Fill in this information to identify the case:

 Debtor name                                Howling Mutt Brewing Company, LLC

 United States Bankruptcy Court for the:
                                           Northern District of Texas


 Case number (if known):                                                                 Chapter            7                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                            $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                          $2,500.00

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                          $2,500.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                             $0.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $100,642.13




 4. Total liabilities..............................................................................................................................................................................                    $100,642.13

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
                Case 23-42085-mxm7                      Doc 1          Filed 07/20/23 Entered 07/20/23 13:13:13                     Desc Main
                                                                      Document Page 24 of 43
 Fill in this information to identify the case:

 Debtor name                       Howling Mutt Brewing Company, LLC

 United States Bankruptcy Court for the:
                                   Northern District of Texas


 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                      $27,349.50
                                                                                         ❑ Other
       fiscal year to filing date:        From 01/01/2023         to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                    From 01/01/2022         to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                     $162,232.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:          From 01/01/2021         to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                     $143,523.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:        From 01/01/2023         to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                    From 01/01/2022         to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:          From 01/01/2021         to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor
                  Case 23-42085-mxm7
                 Howling Mutt Brewing Company, LLC
                                                        Doc 1    Filed 07/20/23 Entered 07/20/23  13:13:13 Desc Main
                                                                                           Case number (if known)
                 Name                                           Document Page 25 of 43
 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.   Clover Capital                                                                   $18,691.00            ✔ Secured debt
                                                                                                               ❑
        Creditor's name
                                                                                                               ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street


                                                                                                               ❑ Other
        City                        State    ZIP Code

 3.2.   Scott Brown Commericial                             5/23                         $11,130.00            ❑ Secured debt
        Creditor's name
                                                                                                               ❑ Unsecured loan repayments
        1400 Dallas Dr.
        Street
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
                                                                                                               ✔
                                                                                                               ❑       Commercial lease payment & back
        Denton, TX 76205                                                                                          Other rent
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ❑ None

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Debtor
                  Case 23-42085-mxm7
                 Howling Mutt Brewing Company, LLC
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                                                                                            Case number (if known)
                 Name                                            Document Page 26 of 43
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.   Scott Brown Commericial                             security deposit of $2167.00 was forfeited                 4/2023
        Creditor's name
        1400 Dallas Dr.
        Street



        Denton, TX 76205
        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

                                                                                                                                              ❑ Pending
                                                                                        Name
                                                                                                                                              ❑ On appeal
         Case number                                                                    Street
                                                                                                                                              ❑ Concluded


                                                                                        City                         State      ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑




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                                                                                             Case number (if known)
                  Name                                            Document Page 27 of 43
 8.1.     Custodian’s name and address                      Description of the property                         Value


         Custodian’s name
                                                            Case title                                          Court name and address
         Street
                                                                                                               Name

                                                            Case number                                        Street
         City                        State     ZIP Code



                                                            Date of order or assignment                        City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                       Description of the gifts or contributions                  Dates given          Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




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                                                                                            Case number (if known)
                  Name                                           Document Page 28 of 43
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred          Dates              Total amount or
                                                                                                                                             value

         The Vida Law Firm, PLLC                               Attorney’s Fee                                           6/23                          $3,500.00


          Address

         3000 CENTRAL DR
         Street


         BEDFORD, TX 76021-3671
         City                        State    ZIP Code


          Email or website address



          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ❑ None
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value

         Black Fox Brewing                                  brewing/bar equipment $10,000.00 walk in cooler            5/10/23                      $15,000.00
                                                            $5000.00
          Address

         205 N. Cedar St.
         Street


         Denton, TX 76201
         City                        State    ZIP Code


          Relationship to debtor




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                                                                                               Case number (if known)
                Name                                                Document Page 29 of 43
 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                              Dates of occupancy

 14.1.                                                                                                        From                  To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the    If debtor provides meals
                                                            debtor provides                                                     and housing, number of
                                                                                                                                patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from     How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                              Check all that apply:
                                                                                                                               ❑ Electronically
                                                                                                                               ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑




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                                                                                            Case number (if known)
                 Name                                            Document Page 30 of 43
        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                        Name of plan                                                                   Employer identification number of the plan

                                                                                                      EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account       Type of account              Date account was          Last balance
                                                          number                                                      closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                       State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑    No

                                                                                                                                                 ❑
        Name
                                                                                                                                                      Yes
        Street

                                                          Address

        City                       State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ❑ None




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                                                                                                 Case number (if known)
                  Name                                                Document Page 31 of 43
 20.1     Facility name and address                              Names of anyone with access to it       Description of the contents               Does debtor
                                                                                                                                                   still have it?

         Advantage Storage- Denton                                                                      Two antique couches, Two Antique          ❑   No

                                                                                                                                                  ✔
         Name
         4205 Teasley Lane
                                                                                                        barrel back woven chairs, Clove
                                                                                                                                                  ❑   Yes
         Street                                                                                         Duo POS w/ Handheld, Security
                                                                                                        panel with two cameras, Wine
                                                                 Address
         Denton, TX 76210                                                                               based alcohol, Lamps and tables,
         City                      State     ZIP Code
                                                                                                        Art work $200; value of contents:
                                                                                                        3700.00


 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                 Description of the property                  Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                      Court or agency name and address                    Nature of the case                           Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                        Name
                                                                                                                                                        ❑ On appeal
                                                        Street
                                                                                                                                                        ❑ Concluded


                                                        City                         State   ZIP Code




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                                                                                            Case number (if known)
                  Name                                           Document Page 32 of 43
 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                       Governmental unit name and address                  Environmental law, if known                Date of notice


         Name                                        Name


         Street                                      Street




         City                  State   ZIP Code      City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                       Governmental unit name and address                  Environmental law, if known                Date of notice


         Name                                        Name


         Street                                      Street




         City                  State   ZIP Code      City                       State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                   Describe the nature of the business                         Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:         –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                  State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ❑None




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                                                                                         Case number (if known)
                 Name                                         Document Page 33 of 43
           Name and address                                                                                  Dates of service

 26a.1. Moriah Reed                                                                                         From 9/2019         To current
        Name


          Street




          City                                        State                  ZIP Code

           Name and address                                                                                  Dates of service

 26a.2. Susan Cartmill                                                                                      From 9/2019         To current
        Name


          Street




          City                                        State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                  Dates of service

 26b.1. Susan Cartmill                                                                                      From 9/2019         To current
        Name


          Street




          City                                        State                  ZIP Code

           Name and address                                                                                  Dates of service

 26b.2. Rani Alfers Insurance Agency, Inc.                                                                  From 7/2021         To 7/2021
        Name


          Street




          City                                        State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑
           Name and address                                                                                  If any books of account and records are
                                                                                                             unavailable, explain why
 26c.1.


          Name


          Street




          City                                        State                  ZIP Code




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                 Howling Mutt Brewing Company, LLC
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                                                                                               Case number (if known)
                 Name                                               Document Page 34 of 43
 26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address

 26d.1.
          Name


          Street




          City                                              State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ❑ No
         ✔ Yes. Give the details about the two most recent inventories.
         ❑
          Name of the person who supervised the taking of the inventory                           Date of          The dollar amount and basis (cost, market, or
                                                                                                  inventory        other basis) of each inventory

         Alex Manning                                                                            2/28/2023                                                 $4,000.00


          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                       State               ZIP Code

          Name of the person who supervised the taking of the inventory                           Date of          The dollar amount and basis (cost, market, or
                                                                                                  inventory        other basis) of each inventory

         Alex Manning                                                                            3/31/2023                                                 $4,058.00


          Name and address of the person who has possession of inventory records

 27.2.
         Name


         Street




         City                                       State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                            Address                                                       Position and nature of any          % of interest, if any
                                                                                                        interest

         Justin Reed                                                                                   Managing Member ,                                 60.00%

         Alex Manning                                                                                  Managing Member ,                                 40.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.

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                                                                                               Case number (if known)
               Name                                                 Document Page 35 of 43
         Name                                 Address                                                     Position and nature of any    Period during which
                                                                                                          interest                      position or interest was
                                                                                                                                        held

                                                                                                      ,                                  From
                                                                                                                                         To

30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
        credits on loans, stock redemptions, and options exercised?
        ✔ No
        ❑
        ❑ Yes. Identify below.
         Name and address of recipient                                             Amount of money or description             Dates             Reason for providing
                                                                                   and value of property                                        the value


30.1.
        Name


        Street




        City                                          State         ZIP Code


         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
        ✔ No
        ❑
        ❑ Yes. Identify below.
               Name of the parent corporation                                                         Employer Identification number of the parent corporation

                                                                                                     EIN:          –


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
        ✔ No
        ❑
        ❑ Yes. Identify below.
               Name of the pension fund                                                               Employer Identification number of the pension fund

                                                                                                     EIN:          –



Part 14: Signature and Declaration


   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
   bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


   I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
   correct.


   I declare under penalty of perjury that the foregoing is true and correct.


   Executed on            07/20/2023
                      MM/ DD/ YYYY




   ✘ /s/ Justin Reed                                                       Printed name                         Justin Reed
          Signature of individual signing on behalf of the debtor



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      Debtor
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                    Name                                   Document Page 36 of 43
      Position or relationship to debtor   Managing Member



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                 page 13
               Case 23-42085-mxm7                      Doc 1       Filed 07/20/23 Entered 07/20/23 13:13:13                                    Desc Main
                                                                  Document Page 37 of 43
 Fill in this information to identify the case:

 Debtor name                     Howling Mutt Brewing Company, LLC

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                         12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Bank of America                                                         credit card                                                                          $3,039.22
      Business Card
      PO Box 15796
      , 19886-5796

2     Clover Network, Inc.                                                    cash advance loan                                                                    $3,676.00
      415 N. Mathilda Ave
      Sunnyvale, CA 94085


3     Denton County Tax Assessor                                                                                                                                   $1,175.76
      PO Box 90223
      , 76202-5223


4     Independent Financial                                                   credit card                                                                          $7,863.15
      PO Box 790408
      , 63179-0408


5     Justin Reed                                                             shareholder loan                                                                    $49,000.00
      9016 Stewart St. Aubrey, TX
      76227
      9016 Stewart St.
      Aubrey, TX 76227
6     Scott Brown Commericial                                                 Commercial                                                                          $35,888.00
      1400 Dallas Dr.                                                         business lease
      Denton, TX 76205


7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
               Case 23-42085-mxm7                  Doc 1       Filed 07/20/23 Entered 07/20/23 13:13:13                                  Desc Main
                                                              Document Page 38 of 43
Debtor       Howling Mutt Brewing Company, LLC                                                                Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
         Case 23-42085-mxm7                                   Doc 1          Filed 07/20/23 Entered 07/20/23 13:13:13                                                   Desc Main
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Texas

In re        Howling Mutt Brewing Company, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $3,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $3,500.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Representation of the Debtor in adversary proceedings and other contested bankruptcy matters




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                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        07/20/2023                                              /s/ Behrooz P. Vida
                Date                                         Behrooz P. Vida
                                                             Signature of Attorney
                                                                                            Bar Number: 20578040
                                                                                          The Vida Law Firm, PLLC
                                                                                                3000 CENTRAL DR
                                                                                        BEDFORD, TX 76021-3671
                                                                                             Phone: (817) 358-9977

                                                                           The Vida Law Firm, PLLC
                                                            Name of law firm




Date:         07/20/2023                                                            /s/ Justin Reed
                                                          Justin Reed




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF TEXAS
                                                          FORT WORTH DIVISION

IN RE: Howling Mutt Brewing Company, LLC                                              CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      07/20/2023            Signature                                   /s/ Justin Reed
                                                                     Justin Reed, Managing Member
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                                Bank of America
                                Business Card
                                PO Box 15796
                                19886-5796



                                Black Fox Brewing Company
                                of Texas
                                205 N. Cedar St.
                                Denton, TX 76201



                                Clover Network, Inc.
                                415 N. Mathilda Ave
                                Sunnyvale, CA 94085




                                Denton County Tax Assessor
                                PO Box 90223
                                76202-5223




                                Howling Mutt Brewing
                                Company, LLC
                                205 N. Cedar St.
                                Denton , TX 76021



                                Independent Financial
                                PO Box 790408
                                63179-0408




                                Internal Revenue Service
                                PO Box 7346
                                Philadelphia, PA 19101-7346




                                Internal Revenue Service
                                Po Box 7346
                                Philadelphia, PA 19101-7346
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                                Internal Revenue Service
                                1100 Commerce St., Mail Code 5020-DAL
                                Dallas, TX 75242




                                Justin Reed
                                9016 Stewart St.
                                Aubrey, TX 76227
                                9016 Stewart St.
                                Aubrey, TX 76227


                                Alex Manning Manning
                                417 S. Locust St, 114
                                Denton, TX 76201




                                Justin Reed
                                9016 Stewart St.
                                Aubrey, TX 76227




                                Scott Brown Commericial
                                1400 Dallas Dr.
                                Denton, TX 76205




                                United States Trustee
                                1100 Commerce St., Mail Code 5020-DAL
                                Dallas, TX 75242-0996
